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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

RICARDO NOAIN,
on behalf of himself and a class of those
similarly situated,

Plaintiff,

¥. Civil Action No. 18-1303

RITRAN, INC., dba International COLLECTIVE ACTION

House of Pancakes,

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Defendant.

JOINT MOTION FOR ENTRY OF AGREED
CONFIDENTIALITY AND PROTECTIVE ORDER

COME NOW Plaintiff Ricardo Noain (‘Plaintiff’) and Defendant Ritran, Inc., d/b/a
International House of Pancakes (“Defendant”), and file their Joint Motion for Entry of Agreed
Confidentiality and Protective Order, respectfully showing the Court the following:

The parties have agreed on the terms of a Confidentiality and Protective Order (the
“Order”), attached hereto as Exhibit “A,” and respectfully request that the Court enter the Order.

FOR THESE REASONS, Plaintiff and Defendant respectfully pray that this Court enter

the Agreed Confidentiality and Protective Order attached hereto as Exhibit A.”

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Respectfully submitted:

/s/ Shana Khader /s/ Kimberly S. Moore

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ATTORNEY FOR PLAINTIFF (469) 287-3900

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ATTORNEYS FOR DEFENDANT
RITRAN INC., d/b/a International House of
Pancakes

CERTIFICATE OF SERVICE

I hereby certify that on this, the 21% day of May, 2019, a true and correct copy of the
foregoing was filed utilizing the Court’s ECF system and all parties of record were notified.

/s/ Kimberly S. Moore
Kimberly S. Moore

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